Case 4:14-cv-00065-JM Document 69 Filed 02/02/18 Page 1 of 10

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF ARKANSAS

WESTERN DIVISION
MARK MOORE, et al., Plaintiffs, )
V. Case No. 4:14-CV-65-JM
MARK MARTIN, in his official capacity as
Arkansas Secretary of State, Defendant. )

PLAINTIFF MARK MOORE’S MEMORANDUM BRIEF
IN SUPPORT OF HIS VERIFIED BILL OF COSTS

Plaintiff Mark Moore received a judgment entered by the Trial Court in the
instant case on January 25, 2018. Pursuant to 28 U.S.C. § 1920, the Plaintiff Moore has
filed a Bill of Costs for his $400.00 filing fee with a copy of the check for said filing of
February 6, 2014, as entered on the docket on February 6, 2014 [Doc. No. 1], and for his
$100.00 pro hac vice filing fee for James C. Linger with a copy of the check for said
filing of February 6, 2014, as entered on the docket on February 6, 2014 [Doc. No. 2] and
which is recoverable as costs pursuant to 28 U.S.C. § 1920 and Crafisman Limousine,
Ine. v. Ford Motor Co., 579 F.3d 894, 898 (8" Cir. 2009), and $189.80 for the transcript
of the oral argument of July 27 , 2015, which was used by stipulation of the parties at the
trial on remand in the instant case on December 12, 2017. The Defendant is hereby
notified that attached hereto as Exhibit “A” is a copy of the aforesaid Bill of Costs of the
Plaintiff Moore setting forth the items of the costs and disbursements of the Plaintiff
Moore in this action, and identifying the situs that the same will be adjusted and taxed by
the Clerk of the above-entitled Court pursuant to Rule 54(d)(1) of the Federal Rules of

Civil Procedure.
Case 4:14-cv-00065-JM Document 69 Filed 02/02/18 Page 2 of 10

Dated this 2nd day of February, 2018.
Mark Moore, Plaintiff

/s/ James C. Linger

James C. Linger, OBA No. 5441
1710 South Boston Avenue

Tulsa, OK 74119-4810

(918) 585-2797 Telephone

(918) 583-8283 Facsimile
bostonbarristers@tulsacoxmail.com

Jeff Rosenzweig, AB No. 77115
300 Spring Street, Suite 310

Little Rock, Arkansas 72201

(501) 372-5247 Telephone

(501) 376-0770 Facsimile
jrosenzweig@att.net

Counsel for Plaintiff Mark Moore

CERTIFICATE OF ELECTRONIC SERVICE

I hereby certify that a true and exact copy of the foregoing has been served on all
counsel of record via the Court’s CM/ECF e-mail notification system on the 2nd day of

February, 2018.

/s/ James C. Linger
James C. Linger

Case 4:14-cv-00065-JM Document 69 Filed 02/02/18 Page 3 of 10

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF ARKANSAS
WESTERN DIVISION

MARK MOORE, et al.,
... Plaintiffs,

MARK MARTIN, in his official
capacity as Secretary of State

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V. ) Case No. 4:14-CV-65-JM
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for the State of Arkansas, ... Defendant. )

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ATTACHMENT
PLAINTIFF MOORE’S EXHIBIT “A”
BILL OF COSTS

Case 4:14-cv-00065-JM Document 69 Filed 02/02/18 Page 4 of 10

AO 133 (Rev. 12/09) Bill of Costs

UNITED STATES DISTRICT COURT
for the

Eastern District of Arkansas
Western Division
Mark Moore, et al., Plaintiff,

)
Vv. ) CaseNo.: 4:14-CV~-65-JM
Mark Martin, in his official capacity as Secretary )
of State for the State of Arkansas, Defendant. )
BILL OF COSTS
Judgment having been entered in the above entitled action on 01/25/2018 against Defendant
Date
the Clerk is requested to tax the following as costs:

Fees ofthe Clerk 2.20.00... 0 cece cee ce eee een eee eect nen e tenet ereees $

Fees for service of summons and subpoena ..... 22.0 ene cece e eens
Fees for printed or electronically recorded transcripts necessarily obtained for use in the asp eB yee

tr. of oral argument of 7/27/2015)
Fees and disbursements for printing ...... 2.0.0... e cee ccc ete teen ene eeenee
Fees for witnesses (itemize on page tO) o.oo cee ee en teen eee eee ee ennee

Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case... 0... cc ee teen eee ens

Docket fees under 28 U.S.C. 1923 220. cc eet eee e teenies
Costs as shown on Mandate of Court of Appeals ..........0. 0006. eee cee cee eee
Compensation of court-appointed experts 22.0.0... 00 cc eee renee eens
Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828 .....
Other costs (please itemize) ....( PRO .HAC .VICE.£iling. fee)...................5.

TOTAL $

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

400.00

189.80

0.00

100.00

689.80

: “Declaration

I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties

in the following manner:

Electronic service [ | First class mail, postage prepaid
[| Other:
s/ Attorney: s/ James C. Linger

Name of Attorney: James C. Linger

For: Plaintiff Mark Moore Date:

02/02/2018

Name of Claiming Party

Costs are taxed in the amount of and included in the judgment.

By:

Clerk of Court Deputy Clerk

Date
Case 4:14-cv-00065-JM Document 69 Filed 02/02/18 Page 5 of 10

AO 133 (Rev. 12/09) Bill of Costs

UNITED STATES DISTRICT COURT

Witness Fees (computation, cf. 28 U.S.C. 1821 for statutory fees)

ATTENDANCE SUBSISTENCE MILEAGE
Total Cost

NAME, CITY AND STATE OF RESIDENCE Total Total Total Each Witness
Days Cost Days Cost Miles Cost

$0.00

$0.00

$0.00

$0.00

$0.00

$0.00

TOTAL $0.00

NOTICE

Section 1924, Title 28, U.S. Code (effective September 1, 1948) provides:
“Sec. 1924. Verification of bill of costs.”

“Before any bill of costs is taxed, the party claiming any item of cost or disbursement shall attach thereto an affidavit, made by himselfor by
his duly authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the case and
that the services for which fees have been charged were actually and necessarily performed.”

See also Section 1920 of Title 28, which reads in part as follows:
“A bill of costs shall be filed in the case and, upon allowance, included in the judgment or decree.”

The Federal Rules of Civil Procedure contain the following provisions:
RULE 54(d)(1)

Costs Other than Attorneys’ Fees.

Unless a federal statute, these rules, or a court order provides otherwise, costs — other than attorney's fees — should be allowed to the
prevailing party. But costs against the United States, its officers, and its agencies may be imposed only to the extent allowed by law. The clerk
may tax costs on 14 day's notice. On motion served within the next 7 days, the court may review the clerk's action.

RULE 6

(d) Additional Time After Certain Kinds of Service.
When a party may or must act within a specified time after service and service is made under Rule5(b)(2)(C), (D), (E), or (F), 3 days are
added after the period would otherwise expire under Rule 6(a).
RULE 58(e)
Cost or Fee Awards:

Ordinarily, the entry of judgment may not be delayed, nor the time for appeal extended, in order to tax costs or award fees. But ifa
timely motion for attorney's fees is made under Rule 54(d)(2), the court may act before a notice of appeal has been filed and become
effective to order that the motion have the same effect under Federal Rule of Appellate Procedure 4(a)(4) as a timely motion under Rule 59.

Case 4:14-cv-00065-JM Document 69 Filed 02/02/18 Page 6 of 10

IN THE UNITED STATES DISTRICT COURT FOR THE
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MARK MOORE, et al.,
...Plaintiffs,

Vv. Case No. 4:14-CV-65-JM

MARK MARTIN, in his official
capacity as Secretary of State
for the State of Arkansas, ... Defendant.

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ATTACHMENT
PLAINTIFF MOORE’S EXHIBIT “1”
FILING FEE AND PRO HAC VICE FEE

Case 4:14-cv-00065-JM Document 69 Filed 02/02/18 Page 7 of 10

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Case 4:14-cv-00065-JM Document 69 Filed 02/02/18 Page 8 of 10

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF ARKANSAS
WESTERN DIVISION

MARK MOORE, et al.,
...Plaintiffs,

Vv. Case No. 4:14-CV-65-JM

MARK MARTIN, in his official
capacity as Secretary of State
for the State of Arkansas, ... Defendant.

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ATTACHMENT
PLAINTIFF MOORE’S EXHIBIT “2”

INVOICE FROM KAREN BAKER, R.M.R.,
C.R.R., FOR TRANSCRIPT OF ORAL
ARGUMENT HELD 7/27/2015 AND USED BY
STIPULATION AT THE TRIAL OF 12/12/2017

_ Case 4:14-cv-00065-JM_ Document 69 Filed 02/02/18 Page 9 of 10

AQ44

(Rev. 11/07) UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF ARKANSAS

INVOICE NO: 20150033

MAKE CHECKS PAYABLE TO:

James C. Linger KAREN BAKER, RMR, CRR
Law Offices of James C. Linger United States Court Reporter
1710 South Boston Avenue 500 West Capitol Avenue
Tulsa, OK 74119-4810 Box C-411

Little Rock, AR 72201
Phone: (918) 585-2797 Phone: (501) 604-5125
FAX: (918) 583-8283

Tax ID: XXX-XX-XXXX
bostonbarristers@tulsacoxmail.com Karen_Baker@ared.uscourts.gov

DATE ORDERED: DATE DELIVERED:
[_] CRIMINAL [x] CIVIL 11-12-2015 11-27-2015

Case Style: 4:14CV00065 JM, Mark Moore and Michael Harrod v Mark Martin,Secretary of State
Transcript of oral argument held 7/27/15 before Judge Moody. Filed with
clerk.

CATEGORY = SUBTOTAL | PAGES Se aA SAGES] aE SUBTOTAL CHARGES
Ordinary 52| 3.65 189.80 189.80
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Expedited
Daily
Hourly
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Misc. Desc. MISC. CHARGES:
TOTAL: 189.80

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TAX (if Applicable):

LESS AMOUNT OF DEPOSIT:

TOTAL REFUND:

TOTAL DUE: $189.80

ADDITIONAL INFORMATION
Full price may be charged only if the transcript is delivered within the required time frame. For example, if an ordet
for expedited transcript is not completed and delivered within seven (7) calendar days, payment would be at the
ordinary delivery rate.

CERTIFICATION

i certify that the transcript fees charged and page format used comply with the requirements of this court and the
Judicial Conference of the United States.

SIGNATURE: DATE

/s/ Karen Baker 11-27-2015

(All previous editions of this form are
cancelled and should be destroyed)

Case 4:14-cv-00065-JM Document 69 Filed 02/02/18 Page 10 of 10

_ JAMES C. LINGER ATTORNEY AT LAW 99-7279/3080.

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1710.S. BOSTON AVE. PH. 918-585-2797 , . /
TULSA, OK 74119 oate 11-3.0-2015
zg paytotue Karen Baker~--~-~-~~~-~--~-~~-~~~_- $ 189.80
5 ORDER OF. |

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memo 4: 14-~cv—00065-JM

